          Case 1:22-cr-00015-APM            Document 225          Filed 08/01/22       Page 1 of 10




                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


    THE UNITED STATES OF AMERICA §
                                                     §
    vs.                                              §       CAUSE NO.: 1:22-CR-15
                                                     §
    ELMER STEWART RHODES, III                        §



     MOTION TO JOIN CALDWELL’S MOTION FOR CONTINUANCE AND CHANGE
       OF VENUE, RHODES ADDENDUM AND SUPPLEMENTAL MOTION FOR
                            CONTINUANCE



COMES NOW BRADFORD L. GEYER, attorney for Kenneth Harrelson in the above

referenced case number and join with Caldwell’s Motion for Change of Venue and Continuance

filed by defendant Thomas Caldwell under Docket # 193 on July 14, 2022, with Linder’s

Addendum # 194 filed July 16, 2022 and add the following Supplemental Motion for

Continuance:

    1. Counsel for Mr. Harrelson would like to add additional claims as a further basis for this

          Court to grant the requested Motion for Continuance for a period of six months.

    2. The enclosed letter to the United States Department of Justice from the Defense shows the

          scale and scope of discovery failures and shows that the Defense has been struggling with

          the Government for many months to receive proper Brady discovery (Attachment A).

    3. Under Local Rules there should be no struggle.1



1
    https://www.dcd.uscourts.gov/sites/dcd/files/local_rules/Local%20Rules%20May_2022_Final.pdf
      Case 1:22-cr-00015-APM          Document 225        Filed 08/01/22      Page 2 of 10




 4. Since the last status conference when ECF 127-2 was withdrawn based on a

     misunderstanding, undersigned Counsel did not correct the misunderstanding to

     demonstrate his preference that discovery matters be addressed out of the public eye



LCrR 5.1 DISCLOSURE OF INFORMATION (a) Unless the parties otherwise agree and where
not prohibited by law, the government shall disclose to the defense all information “favorable to
an accused” that is “material either to guilt or to punishment” under Brady v. Maryland, 373 U.S.
83, 87 (1963), and that is known to the government. This requirement applies regardless of
whether the information would itself constitute admissible evidence. The information,
furthermore, shall be produced in a reasonably usable form unless that is impracticable; in such a
circumstance, it shall be made available to the defense for inspection and copying. Beginning at
the defendant’s arraignment and continuing throughout the criminal proceeding, the government
shall make good-faith efforts to disclose such information to the defense as soon as reasonably
possible after its existence is known, so as to enable the defense to make effective use of the
disclosed information in the preparation of its case. (b) The information to be disclosed under (a)
includes, but is not limited to: (1) Information that is inconsistent with or tends to negate the
defendant’s guilt as to any element, including identification, of the offense(s) with which the
defendant is charged; (2) Information that tends to mitigate the charged offense(s) or reduce the
potential penalty; (3) Information that tends to establish an articulated and legally cognizable
defense theory or recognized affirmative defense to the offense(s) with which the defendant is
charged; (4) Information that casts doubt on the credibility or accuracy of any evidence,
including witness testimony, the government anticipates using in its case-in-chief at trial; and
132 (5) Impeachment information, which includes but is not limited to: (i) information regarding
whether any promise, reward, or inducement has been given by the government to any witness it
anticipates calling in its case-in-chief; and (ii) information that identifies all pending criminal
cases against, and all criminal convictions of, any such witness. (c) As impeachment information
described in (b)(5) and witness-credibility information described in (b)(4) are dependent on
which witnesses the government intends to call at trial, this rule does not require the government
to disclose such information before a trial date is set. (d) In the event the government believes
that a disclosure under this rule would compromise witness safety, victim rights, national
security, a sensitive law-enforcement technique, or any other substantial government interest, it
may apply to the Court for a modification of the requirements of this rule, which may include in
camera review and/or withholding or subjecting to a protective order all or part of the
information. (e) For purposes of this rule, the government includes federal, state, and local law
enforcement officers and other government officials who have participated in the investigation
and prosecution of the offense(s) with which the defendant is charged. The government has an
obligation to seek from these sources all information subject to disclosure under this Rule. (f)
The Court may set specific timelines for disclosure of any information encompassed by this rule.
(g) If the government fails to comply with this rule, the Court, in addition to ordering production
of the information, may: (1) specify the terms and conditions of such production; (2) grant a
continuance; (3) impose evidentiary sanctions; or (4) enter any other order that is just under the
circumstances.
    Case 1:22-cr-00015-APM          Document 225        Filed 08/01/22      Page 3 of 10




   without burdening the court system, but also because Brady evidence is something the

   defense does not have to request. Acquiescing to the withdrawal was also an expression of

   good will and intended to project confident reliance and faith in the Government’s

   promises to comply with its discovery obligations.

5. Since that time, undersigned counsel has learned that DOJ prosecutors and assigned case

   agents have limited control over their own discovery disclosures as it seems that a

   discovery clearinghouse known as, “Capitol Siege Cases, Global Discovery Production

   Unit” (Capitol Siege Unit), actually controls production of discovery and has fallen

   woefully behind in Brady compliance obligations. This appears to be beyond the control of

   assigned government prosecutors whom undersigned counsel holds in the highest regard

   and who have, in all respects, acted professionally and in good faith. It is clear the Capitol

   Siege Unit, which appears to be swamped, needs more time to gather information so that it

   can be provided to assigned prosecutors so they can turn it over to the Defense.

6. The letter to the Government (Attachment A) strongly suggests that affected investigative

   agencies may also need more time to make proper disclosures about Confidential Human

   Sources (CHS) to the Capitol Siege Unit.

7. Undersigned counsel was in the United States Department of Justice in the wake of the US

   v. Senator Ted Stevens prosecution when an esteemed Judge in this Circuit took necessary

   action that led to dramatic and beneficial reforms across US Department of Justice in

   regard to Brady compliance. Undersigned counsel observed devastating fallout that in

   many respects wrongfully and disproportionately upon career civil servants that made

   honest mistakes, who were just overwhelmed with workload or who were forced by

   circumstances to make representations in reliance on others. One of these prosecutors was
        Case 1:22-cr-00015-APM          Document 225         Filed 08/01/22      Page 4 of 10




       Nicholas A. Marsh. Memories of Nicholas A. Marsh haunt the undersigned counsel and

       anyone who knew him or anyone who knew the devoted professionals around him, would

       understand my concerns and it is partly in his memory that this filing is made.

    8. Of these Suspicious Actors (and/or material witnesses) whom we now can see committing

       the crimes on video the Oath Keepers are accused of having committed (Attachments B

       and C), we need more time to receive files such as pre-trial services files, probation files,

       all investigative memos, and the fruits of any searches or submissions through compulsory

       or voluntary collections with or without a warrant. It is also possible that investigative

       agencies need more time to review their files for CHS information to determine whether

       required disclosures are being made in a timely fashion to the Capitol Siege Unit. To date,

       the Government has disclosed one (1) confidential human source. From bits and pieces we

       see in the Discovery that seems to have made it into Relativity, it’s reasonable to suspect

       that the Government has additional CHS to disclose in ours and other matters.

    9. Last week we located an off-reference to a FISA warrant2 that seems to have been issued

       prior to March 2022. This came as a surprise and raises other questions that need to be

       resolved.

    10. On Friday we learned that the Government had “been told by [Capitol Siege Unit] that the

       FBI Sentinel files for many of the people … identified as “suspicious actors” should be

       uploaded to the defense instance of Relativity soon, possibly as early as next week. They

       are undergoing final review….[T]he prosecutors on this case are not currently aware of any



2
 The reference is in an excel spreadsheet where the government may have inadvertently failed to
remove a reference that states: “Warning: This file contains FISA data so SMP requirements
must be met before its use and/or dissemination.”
    Case 1:22-cr-00015-APM          Document 225        Filed 08/01/22      Page 5 of 10




   information that the people you identified as “suspicious actors” were working as agent

   provocateurs on behalf of a US law enforcement or intelligence agency on January 6.”

   But, alas, this information comes too late for this information to be of any use in a

   September trial and the Government must know that.




11. With Brady, constructive knowledge matters. In Youngblood v. West Virginia, 547 U.S.

   867 (2006) the Supreme Court made it clear that “a Brady violation occurs when the

   government fails to disclose evidence materially favorable to the accused. This Court has

   held that the Brady duty to disclose extends to impeachment evidence as well as

   exculpatory evidence, and Brady suppression occurs when the government fails to turn

   over even evidence that is ‘known only to police investigator and not to the prosecutor.’

   ‘Such evidence is material if “there is a reasonable possibility that had the evidence been

   disclosed to the defense, the result of the proceeding would have been different”,’ although

   a ‘showing of materiality does not require demonstration by a preponderance of the

   evidence that disclosure of the suppressed evidence would have resulted ultimately in the

   defendant’s acquittal.’ The reversal of a conviction is required upon a ‘showing that the

   favorable evidence could reasonably be taken to put the whole case in such a different light

   as to undermine confidence in the verdict.’”

12. Sergeant Kenneth Harrelson, Ret. can only now be seen on video, in large part because of a

   systemic effort to make it so difficult to access and review the video record that

   unfortunately has only been made possible through delay, logistical hurdles and protective

   orders. Mr. Harrelson never attacked police or engaged in vandalism-- he actually can now

   be seen responding to the scene and defending police. He knew nothing of sedition or
    Case 1:22-cr-00015-APM           Document 225        Filed 08/01/22      Page 6 of 10




   insurrection and the record, all his known communications and actions, now seen on video,

   now confirm this.

13. It was only through having to endure the process of documenting his activities throughout

   the day—only made possible by the introduction of 23,608 videos on Evidence.Com in

   March, 2022--that the activities of the Suspicious Actors all around him became evident,

   glaring and apparent. So glaring and apparent that it seems impossible that these Suspicious

   Actors could have escaped FBI or investigative attention judging from keyword searches in

   Relativity that yield almost no meaningful discovery.

14. If defense counsels receive proper discovery there is a high probability that it will change

   the outcome of future proceedings and, sadly, it likely would have changed the outcome of

   prior motion practice. United States v. Bagley, 473 U.S. 667, 682 (1985). A “reasonable

   probability” under Bagley is “a probability sufficient to undermine confidence in the

   outcome. 472 U.S. at 678, 682. When assessing evidence’s materiality, the court must take

   into account the cumulative effect of the suppressed evidence in the light of the other

   evidence, not merely the probative value of the suppression of evidence standing alone.

   See Kyles, 514 U.S. at 436.

15. The legal theory is simple: Others committed the crimes that have been attributed to Mr.

   Harrelson and these “Suspicious Actors” can be seen on video, most of it under protective

   order, attacking police and working in coordinated ways to engage in the crimes alleged

   against the Oath Keepers that they themselves did not commit. Many of these activities

   occur in two areas where the Capitol inexplicably does not have surveillance video: 1) on

   any part of the exterior Columbus Doors level—the main entrance to the Capitol--and 2)
    Case 1:22-cr-00015-APM          Document 225         Filed 08/01/22      Page 7 of 10




   anywhere around where Mr. Harrelson and other Oath Keepers came to the defense of a US

   Capitol Police Officer and diffused a dangerous situation.

16. The Defense investigation of information contained in withdrawn ECF 127-2 (Attachment

   B) has continued against overwhelming odds, however, and we have been able—with

   almost no Government assistance--to identify some of the ECF 127-2 individuals and to

   develop compelling exculpatory evidence with almost no directed discovery assistance

   from the Government.

17. Fortuitously, a high definition video disclosure by the Government in two case filings just

   in the last 30 days: United States v. HEMPHILL (1:21-cr-00555) and United States v.

   COOKE (1:22-cr-00052) prompted private citizens to post video and also to locate video

   that was released by the Government in those cases, but, once again, it was not provided in

   our Discovery that we can find. These disclosures permitted the Defense to finally identify

   certain Suspicious Actors, it permitted for the first time the ability to see the sequencing of

   events and coordination between these Suspicious Actors in the East and West, and it

   clearly shows police engaging with these Suspicious Actors that had the effect of sowing

   misinformation and impressing upon segments of the crowd that it had permission to go

   “up and onto the steps.” The Capitol Siege Unit had this information for many months

   while we burned clocks and budgets trying to hunt it down.

18. We can now see that the timed attack in the East was spearheaded and focused on two

   areas and, but for the activities of these Suspicious Actors, there would have been no
        Case 1:22-cr-00015-APM          Document 225         Filed 08/01/22      Page 8 of 10




       crossing of boundaries in the East. We are only now beginning to comprehend that those

       activities in the West dramatically affected events in the East.3

    19. We are 18 months into having to pry disclosures from the Government resulting in

       dramatic misunderstanding of events by prosecutors of record and defense counsels alike

       born of what can only be described systemic failures by this discovery clearing house, the

       Capitol Siege Unit, to be timely in Brady disclosures to trial staffs that are necessary for

       defendants to put on defenses. It has been undersigned counsel’s observation that assigned

       Government counsel are always responsive and professional, but proper Brady disclosures

       can only occur AFTER they first receive the disclosures from the Capitol Siege Unit which

       must first receive them from investigative and other agencies.

    20. It would be impossible to express how prejudicial this situation has been to the Defense.

       We have had motion practice come and go without the necessary Government Brady

       disclosures. This has dramatically impacted motions to dismiss, Rule 12 motions, selective

       prosecution motions, the public authority defense motions for which the Government filed

       an exclusionary Motion in Limine and even potential entrapment claims depending in

       substantial part on what long, sought after discovery may show.

    21. That the FBI could still be reviewing required discovery and Brady information more than

       18 months post arrest and be sitting on evidence of a host of perpetrators who actually

       engaged in the crimes that Harrelson is accused of committing is shocking and frankly,

       incomprehensible to undersigned counsel, since the FBI is the best law enforcement

       agency, without question, in the world and it is expert in developing CHS assets prior


3
 A recent public presentation of this evidence this perspective can be found here:
https://www.theepochtimes.com/the-real-story-of-jan-6-documentary_4596670.html
    Case 1:22-cr-00015-APM           Document 225        Filed 08/01/22      Page 9 of 10




   to events like January 6. There simply must be undisclosed CHS among past and present

   Oath Keepers and the Suspicious Actors we have identified now with specificity and these

   agencies need time to catch up.

22. Without discovery provided by the Government, the defense investigated approximately 85

   subjects or “Suspicious Actors” and/or material witnesses by scouring the public record, in

   the last few weeks. We developed an additional overlapping list of 43 Suspicious Actors

   and/or material witnesses, some of whom planned to attack the Capitol, organized and

   coordinated the attack on the Capitol, and can now actually be seen carrying it out without

   Mr. Harrelson’s knowledge because we can now finally see from surveillance video that he

   participated in no attacks, took part in no vandalism and came to the assistance of police.

   We have been provided almost no discovery on these individuals either and when it is

   understood how these Suspicious Actors planned, behaved, communicated, coordinated,

   and executed—that can all be seen on video that remains under protective order, the

   majority of Americans and any jury, and any reviewing court, may not find it credible that

   law enforcement had such little investigative interest in these individuals.

23. These delays in receiving this crucial evidence has made it immensely difficult to provide

   experts with the information they need to form well founded expert opinions.

24. The planning executed in the East and the West seems to have included coordination for

   synchronized actions of individual or small group actions. We now see extensive evidence

   of coordination and timing. That these individuals are more likely to remain unidentified,

   are more likely to have their activities documented on video under protective order, are less

   likely to be charged if they are identified, and, if charged, the charges often involve long

   delays with undercharging compared to others, are more than indicative of affiliation with
   Case 1:22-cr-00015-APM           Document 225         Filed 08/01/22      Page 10 of 10




   some government agency. Further troubling indications include the inexplicable release of

   this class of individual pre-trial (sometimes on their own recognizance) when others

   similarly situated or with no violent acts are jailed after strong unexplainable Government

   opposition to pretrial release. At a minimum, we don’t know what the distinguishing

   factors are for this broad range of prosecutorial discretion, and we need discovery to

   determine if there is a violation of procedural due process.

25. For these reasons, undersigned counsel respectfully requests a six month continuance so

   that these institutions and investigative agencies can regain control of their files and the

   ethical responsibilities of government assigned to these cases, so that the Defense and the

   Government can, once again, work these issues out amicably without the necessity of Court

   intervention or oversight.

26. Sergeant Kenneth Harrelson, retired, waives his Speedy Trial rights.

27. Undersigned Counsel regrets the tone this filing so close to a status conference hearing, but

   he earnestly believes that it is his duty as the legal representative of Mr. Harrelson, as an

   Officer of the Court and as an alumnus of the Department of Justice, who treasures these

   institutions and who will always be a defender of these institutions, their mission and the

   public servants who serve in them, and undersigned counsel prays that the Court and the

   Government will take these concerns and the spirit with which they are expressed into

   consideration.
